  Case 3:17-cv-00049-GEC Document 24 Filed 01/07/19 Page 1 of 1 Pageid#: 73
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                         IN THE UNITED STATES DISTRICT COURT                      JAN 0? 2219
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STU A RT FITZGEM LD ,
                                                      CivilActionN o.3:17CV00049
         Plaintiff,

                                                      O R DE R O F DISM ISSA L

CARL STORY,
                                                      By: Hon.Glen E.Com'ad
         Defendant.                                   SeniorUnited StatesDistrictJudge

         The courthasbefore itthe plaintiff'snotice ofvoluntary dismissalfiled in thiscase. No

answerorresponsivepleadinghavingbeenfsledinthecase,and,ptlrsuanttoRule41(a)(1)(A)(i)
oftheFederalRulesofCivilProcedtzre,itisaccordingly

                                 A D JU D G ED and O RDERED

thattheabove-styledmatterisDISM ISSED withoutprejudice,andthiscaseisstrickenfrom the
activedocketofthiscourt.

     .   TheClerk ishereby directed to senda certified copy ofthisorderto al1counselofrecord.

                Enterthis   N      day ofJanuary, 2019.




                                             SeniorUnited StatesDistrictJudge
